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EXHIBIT B
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Stat of New York
Supreme Court, Appellate Division
Third Gudicial Department

GF Michael F Novack, Clerk of lhe Appellate Division of the

Supreme Court of Lhe State of New York, Third Judicial Department, do
hereby certify that

Sheldon Leo Pollock

having taken and subscribed the Constitutional Oath of Office as prescribed by
law, was duly licensed and admitted to practice by this Court as an Attorney
and Counselor at Law in all courts of the Sfate of New York on the 30h day
of January, 2002, 18 currently in good. standing and 1s registered ath the
Administrative Office of lhe Courts as required. by section four hundred. sixty -
eight ~a of the Judiciary Law.

In Witness Whereof, T have hereunto set my Land
and, affixed. the Seal, of said Court, af the
Oity of Albany, this 2514 day of
February, 2010.

